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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

TRAVIS DELANEY WILLIAMS,

        Plaintiff,
                                                    Case No. 20-cv-1021-wmc
   v.

SHERYL KINYON, DANIELLE HAGAN,
ERIN WHIRLE, SANDRA MCARDLE,
JAMIE ADAMS, JULIA PAYNE,
ANDREA TITLBACH, J. HILL, and
JOHN DOE,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                             October 21, 2021
        Peter Oppeneer, Clerk of Court                       Date
